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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 ALAN PRESSWOOD, D.C., P.C., individually
 and on behalf of all others similarly-situated

                      Plaintiff,
                                                           Case No.: 4:17-cv-01977 SNLJ
                           v.


 AMERICAN HOMEPATIENT, INC., a
 Tennessee corporation, and JOHN DOES 1-10,


                     Defendants


                     DEFENDANT AMERICAN HOMEPATIENT, INC.’S
                     AGREED MOTION FOR ENLARGEMENT OF TIME
                          TO SUBMIT JOINT STATUS REPORT

          NOW COMES the Defendant, AMERICAN HOMEPATIENT, INC. (“American

Homepatient” or “Defendant”), by and through its attorneys, Molly A. Arranz and John C.

Ochoa of SmithAmundsen LLC, and moves this Court for an enlargement of time for the Parties

to submit a joint status report (dkt. 115) to February 14, 2022. In support thereof, Defendant

states as follows:

          1.   On January 20, 2022, this Court entered an order requesting the parties submit a

Joint Status Report by January 31, 2022. (Dkt. 115.)

          2.   The parties are currently in the process of discussing a potential settlement of this

matter.

          3.   To preserve the parties’ and the Court’s resources, the parties request that the

deadline by which they must submit a joint status report be extended by twenty-one (21) days, up

to February 21, 2022.
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       4.      Defendant makes this request in good faith, and not for purposes of delay.

       5.      The parties agree to the relief requested in this motion.

       WHEREFORE the Defendant, American Homepatient, Inc., respectfully requests that

this Court grant the parties an enlargement of time of twenty-one (21) days, to February 21,

2022, to file their joint status report, and grant such other relief as this Court deems just and

appropriate.

                                                  Respectfully submitted,

                                                     By: /s/ Molly A. Arranz
                                                         __________________________
                                                     Molly A. Arranz (6281122IL)
                                                     John C. Ochoa (6302680IL)
                                                     SmithAmundsen LLC
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                                                     Homepatient, Inc.




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                                CERTIFICATE OF SERVICE

         The undersigned certifies that on January 27, 2022, he caused the foregoing Defendant

American Homepatient, Inc.’s Motion for Enlargement of Time to Submit Joint Status

Report to be electronically filed with the Clerk of Court using the CM/ECF system, which will

send notification of such filing to all counsel of record at their email addresses on file with the

Court.


                                                            [x]     Pursuant to 28 USC Section
                                                            1746(2), I certify under penalty of
                                                            perjury that the foregoing is true and
                                                            correct. Executed on: January 27,
                                                            2022.

                                                            /s/ Molly A. Arranz




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